740 F.2d 669
    117 L.R.R.M. (BNA) 2072, 101 Lab.Cas.  P 11,154
    Walter F. ZAHN, Sr., Appellant,v.IOWA MANUFACTURING COMPANY OF CEDAR RAPIDS, IOWA and HarmonyLodge Local No. 831 of the InternationalAssociation of Machinists and AerospaceWorkers, A.F.L.-C.I.O., Appellees.
    No. 83-2495.
    United States Court of Appeals,Eighth Circuit.
    Submitted July 13, 1984.Decided Aug. 15, 1984.
    
      Kevin P. Shea, Shea Law Offices, Cedar Rapids, Iowa, for appellant.
      Robert R. Rush, Lynch, Dallas, Smith &amp; Harman, Cedar Rapids, Iowa, for appellee Harmony Lodge Local 831 of the International Association of Machinists and Aerospace Workers, A.F.L.-C.I.O.
      Before ROSS, McMILLIAN and FAGG, Circuit Judges.
      PER CURIAM.
    
    
      1
      This case is on appeal from the judgment of the United States District Court for the Northern District of Iowa.1   Jurisdiction is invoked pursuant to 28 U.S.C. Sec. 1291 (Supp.1983).  The district court dismissed Zahn's complaint in favor of appellees, Iowa Manufacturing Company and the local union, on the basis that the suit filed under Section 301 of the Labor Management Relations Act, 29 U.S.C. Sec. 185 (1978) was not timely filed under DelCostello v. International Brotherhood of Teamsters, --- U.S. ----, 103 S.Ct. 2281, 76 L.Ed.2d 476 (1983).
    
    
      2
      Zahn alleges that he was wrongfully discharged as an employee from Iowa Manufacturing Company.  According to the district court, Zahn exhausted his remedies under the collective bargaining agreement no later than September 1, 1982.  His cause of action was not filed until June 1983.  Zahn clearly did not file within the six-month time limitation set forth in DelCostello.    Since we have held that the DelCostello decision is to be applied retroactively,2 Zahn's claim is clearly time barred.  Finding no evidence in the record which indicates Zahn's action should be tolled, we accordingly affirm the district court on the basis of its well-reasoned opinion.  See 8TH CIR.R. 14.
    
    
      
        1
         The Honorable Edward J. McManus presiding
      
      
        2
         Lincoln v. District 9 of the International Association of Machinists, 723 F.2d 627 (8th Cir.1983)
      
    
    